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                               IN THE
                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

 _________________________________________
                                          )
 SSM LITIGATION GROUP,                    )
                                          )
                      Petitioner          )
                                          )
                 v.                       )                 No. 23-1267
                                          )
 ENVIRONMENTAL PROTECTION AGENCY, )
                                          )
                      Respondent          )
 _________________________________________)


        PETITIONER’S MOTION TO HOLD CASE IN ABEYANCE

       Petitioner SSM Litigation Group respectfully requests that the Court hold

 this case in abeyance, pending resolution by the Court of a case, already argued

 and submitted, which addresses procedural and substantive issues that also will

 be raised in the instance case. Doing so would conserve the resources of the

 Court and the parties and would not significantly prejudice Respondent EPA.

 Petitioner has contacted counsel for Respondent, who has indicated that EPA

 takes no position on this motion at this time and will decide whether to file an

 opposition after reviewing Petitioner’s motion for abeyance.

       1.     SSM Litigation Group has petitioned for review of the promulgation
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 by the U.S. Environmental Protection Agency (“EPA”) of the final action

 entitled Removal of Title V Emergency Affirmative Defense Provisions From

 State Operating Permit Programs and Federal Operating Permit Program,

 published on July 21, 2023 at 88 Fed. Reg. 47,029 (the “Affirmative Defense

 Removal Rule”).

       2.     Under Title V of the Clean Air Act, 42 U.S.C. Chapter 85

 Subchapter V, many types of stationary sources of air pollution are required to

 have an operating permit, issued by a delegated state or, in some cases, by EPA

 (“Title V permits”). Since the time EPA first issued regulations specifying the

 contents and procedures for state Title V permits, over 30 years ago, those

 regulations allowed state permits to include a provision declaring that the source

 operator has an affirmative defense to civil penalties for exceedances of permit

 limitations resulting from emergencies. 40 C.F.R. § 70.6(g); see 81 Fed. Reg.

 38,645, 38,647 (June 14, 2016). A few years later, when it promulgated

 regulations for federally-issued Title V permits, EPA included a virtually

 identical affirmative defense. 40 C.F.R. § 71.6(g) (together with the provision

 for state permit programs, the “affirmative defense provisions”); see 81 Fed.

 Reg. at 38,647. The affirmative defense provisions state that a source will not be

 subject to civil penalties for an exceedance of a technology-based emission
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 limitation arising from an “emergency,” defined as “any situation arising from

 sudden and reasonably unforeseeable events beyond the control of the source,

 including acts of God, which situation requires immediate corrective action to

 restore normal operation, and that causes the source to exceed a technology-

 based emission limitation under the permit, due to unavoidable increases in

 emissions attributable to the emergency.” 40 C.F.R. §§ 70.6(g)(1) and

 71.6(g)(1). The source operator must show that the exceedance was not “caused

 by improperly designed equipment, lack of preventative maintenance, careless or

 improper operation, or operator error.” Id.

       3.     The Affirmative Defense Removal Rule that SSM Litigation Group

 is challenging in this petition for review removed the affirmative defense

 provisions from EPA regulations on state and federal Title V permit programs,

 directed states to revise their state regulations if they included an affirmative

 defense provision, and declared that existing permits that contain affirmative

 defense language must be modified promptly. 88 Fed. Reg. 47,029, 47,030-31

 (July 12, 2023). EPA offered two primary reasons for eliminating affirmative

 defense provisions from Title V permitting regulations and from individual

 permits. First, EPA concluded that allowing an affirmative defense for

 exceedances associated with emergencies was inconsistent with the Court’s
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 reasoning in a case arising under another provision of the Clean Air Act, NRDC

 v. EPA, 749 F.3d 1055 (D.C. Cir. 2014). See, e.g., 88 Fed. Reg. at 47,037

 (NRDC addresses “the legal basis for affirmative defense provisions,” and based

 on “the reasoning of the NRDC decision, the EPA has determined that it is

 appropriate to remove the emergency affirmative defense provisions...because

 these provisions are not authorized by the CAA”). Second, EPA wanted the Title

 V program regulations to be consistent with actions EPA has been taking to

 eliminate similar affirmative defense provisions in other EPA regulations. 88

 Fed. Reg. at 47,037; see also 81 Fed. Reg. at 38,649.

       4.     One of the other regulatory actions EPA wanted to be consistent

 with was EPA’s reversal of its long-standing position that State Implementation

 Plans adopted by the states and approved by EPA, under Clean Air Act section

 110, 42 U.S.C. § 7410, could include an affirmative defense for malfunctions.

 See 88 Fed. Reg. at 47,030 and n.3; 47,039 (maintaining the affirmative defense

 provisions in Title V permitting regulations “could effectively

 undermine…efforts of states to comply with the 2015” SSM SIP Call Rule); 87

 Fed. Reg. 19,042, 19,044 and n.7(April 1, 2022); 81 Fed. Reg. at 38,649. EPA

 defined affirmative defenses for malfunctions in State Implementation Plans very

 similarly to the affirmative defense for emergencies in the Title V affirmative
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 defense provisions. Compare 40 C.F.R. §§ 70.6(g) and 71.6(g) with 78 Fed.

 Reg. 12,460, 12,469-70 (Feb. 22, 2013) (describing EPA policy, since at least

 1999, allowing State Implementation Plans to contain an affirmative defense for

 malfunctions, i.e. circumstances in which excess emissions are entirely beyond

 the control of the owner or operator…despite diligent efforts”) and 80 Fed. Reg.

 33,839, 33,924, 33,981 (June 12, 2015) (stating new EPA policy that affirmative

 defenses in State Implementation Plans are not allowed).

       5.     After defending inclusion of affirmative defenses for malfunctions

 in State Implementation Plans for years, including successfully defending EPA’s

 approval of such a provision in the Texas State Implementation Plan, in

 Luminant Generation Co. LLC v. EPA, 741 F.3d 841 (2013), EPA changed its

 mind in 2015, based on this Court’s reasoning in NRDC v. EPA. See 80 Fed.

 Reg. 33,839, 33,924, 33,981-82 (June 12, 2015) (the “SSM SIP Call Rule”).

 Petitioner SSM Litigation Group, along with numerous other industry groups and

 18 states, filed petitions for review of that action and other actions contained in

 the SSM SIP Call Rule. Those petitions for review were consolidated under lead

 case Environmental Committee of the Florida Electric Power Coordinating

 Group, Inc. v. Environmental Protection Agency, et al., D.C. Cir. No. 15-1239

 (the “SSM SIP Call Rule Case”). That case was submitted after oral argument
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 held March 25, 2022, but it is still awaiting decision.

       6.     In briefing and oral argument of the SSM SIP Call Rule Case, SSM

 Litigation Group and the other petitioners in that case argued that NRDC v. EPA

 addresses a different scenario, where EPA is promulgating categorical

 nationwide emission standards for hazardous air pollutants, and the reasoning of

 that case does not support the elimination of affirmative defense provisions in

 State Implementation Plans. See, e.g., pp. 28-29 of the Industry Reply Brief

 (ECF #1643581) in Case No. 15-1239. They argued that EPA instead should

 follow the Fifth Circuit’s decision in Luminant, 741 F.3d 841, 853, which held

 that an affirmative defense for malfunctions in the Texas State Implementation

 Plan was not inconsistent with the Clean Air Act. See, e.g., p. 29-30 of the

 Industry Reply Brief (ECF #1643581); see also 79 Fed. Reg. 55,920, 55,931

 (Sept. 17, 2014) (EPA acknowledging that its “approval of affirmative defense

 provisions in SIPs or promulgation of such provisions in FIPs has been upheld by

 courts in several decisions”); NRDC v. EPA, 749 F.3d at 1064 n.2 (noting that

 the NRDC court’s analysis of affirmative defense provisions in the context of

 EPA’s hazardous air pollutant standard-setting authority did not necessarily

 apply to the different “question of whether an affirmative defense may be

 appropriate in a State Implementation Plan” and referencing Luminant, 741 F.3d
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 841). Petitioners in the SSM SIP Call Rule Case also argued that EPA’s

 interpretation of the Clean Air Act as prohibiting an affirmative defense for

 malfunctions in State Implementation Plans is not entitled to any deference,

 because EPA was interpreting Congressional grants of authority, in Clean Air

 Act sections 113 and 304, 42 U.S.C. §§ 7413 and 7604, to the district courts, not

 authority granted to EPA. See, e.g., p. 28 of the Industry Reply Brief (ECF

 #1643581) and p. 2 of the Supplemental Brief of Industry Petitioners (ECF

 #1929003).

       7.     Petitioners are asking that the instant case be held in abeyance

 pending the Court’s disposition of the SSM SIP Call Rule Case, because there

 are several ways in which a decision in the latter case could be dispositive of the

 instant case, narrow the issues to be argued, or affect the parties’ desires to

 proceed in the instant case. Courts have inherent power to hold a case in

 abeyance so as to manage their dockets with an eye towards economy of time

 and resources for the Court, counsel, and litigants. See Landis v. North Am. Co.,

 299 U.S. 248, 254-55 (1936). This Court “[o]ften” issues abeyance orders “in

 light of other pending proceedings that may affect the outcome of the case

 before” it. Basardh v. Gates, 545 F.3d 1068, 1069 (D.C. Cir. 2008). Courts

 often stay proceedings “when a higher court is close to settling an important
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 issue of law bearing on the action,” which “may be proper even where the issues

 in the independent proceeding are not necessarily controlling of the action before

 the court.” Wing Shing Products (BVI) Ltd. v. Simatelex Manufactory Co., Ltd.,

 2005 WL 912184, at *2 (S.D.N.Y. Apr. 18, 2005) (citations and internal

 quotation marks omitted).

       8.     It would be a waste of resources of the parties and the Court to

 move forward with briefing the instant case under the circumstances. For

 example, the panel in the SSM SIP Call Rule Case could determine that NRDC v.

 EPA’s reasoning applies only in situations where EPA is promulgating uniform

 emission standards for categories of sources, the stringency of which is specified

 by the Clean Air Act. Should the opinion in the SSM SIP Call Rule Case clarify

 the import of the Court’s opinion in NRDC v. EPA and/or agree with the Fifth

 Circuit’s holding in Luminant, 741 F.3d 841, 853, that an affirmative defense for

 malfunctions does not unlawfully impinge on District Courts’ authority to

 determine appropriate penalties for various types of violations of the Clean Air

 Act, EPA at a minimum would need to reconsider the legal analysis that formed

 EPA’s justification for the Affirmative Defense Removal Rule, which presumed

 that the reasoning in NRDC v. EPA also applies more broadly, to situations

 where, for example, a state imposes emission limitations through a Title V
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 operating permit. Cf. 87 Fed. Reg. at 19,044 (EPA’s view that “the reasoning

 and logic of [NRDC] extend to regulations concerning operating permit programs

 under title V…aligns the EPA’s position on affirmative defenses in title V with

 positions taken in other CAA program areas, including EPA policy relating to the

 treatment of startup, shutdown, and malfunction (SSM) periods in state

 implementation plans (SIPs).”) EPA also would need to reconsider is conclusion

 that removing affirmative defense provisions from the Title V permitting

 regulations and from individual permits is appropriate to be consistent with other

 EPA actions that EPA described as eliminating unlawful affirmative defense

 provisions in other regulations, including in State Implementation Plans, if this

 Court finds in the SSM SIP Call Rule Case that EPA wrongly concluded that

 affirmative defense provisions in State Implementation Plans are unlawful.

       9.     Conversely, the Court could resolve the SSM SIP Call Rule case in

 a way that made it difficult for SSM Litigation Group to argue that EPA’s

 removal of the affirmative defense provisions from the Title V permitting

 program was based on a faulty analysis of the Clean Air Act. And the Court’s

 conclusion in the SSM SIP Call Rule case about whether the Court should give

 any deference to EPA’s interpretation of the Clean Air Act as supporting EPA’s

 prohibition of affirmative defense provisions in State Implementation Plans
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 could affect either of the parties’ desire to pursue judicial review of EPA’s

 similar analysis supporting the Affirmative Defense Removal Rule.

       10.    In the preamble to the Affirmative Defense Removal Rule, EPA

 responded to public comments on its proposed action that urged EPA to defer

 taking final action to remove affirmative defense provisions from Title V

 permitting regulations and individual permits until after the Court disposed of

 affirmative defense issues being litigated in the SSM SIP Call Rule Case. See 88

 Fed. Reg. at 47,036. EPA stated confidence in its actions in the 2015 SSM SIP

 Call Rule. EPA also disagreed with commenters’ supposed “assertions that an

 adverse decision with respect to the [2015 SSM SIP Call Rule] would

 necessarily undermine the legal justification for this rule, because the [SSM SIP

 Call Rule Case] could be decided on procedural or substantive grounds that

 would not be determinative for this action. 88 Fed. Reg. at 47,036 (emphasis

 added). But this Court does not hold cases in abeyance pending other agency or

 judicial decisions only when it is certain that the other decision will be resolved

 in the movant’s favor and would be determinative, and in any event a pending

 action in one case does not have to resolve entirely the issues in another case to

 warrant holding the other case in abeyance. Regardless, EPA’s self-serving

 assertions to that effect are not sufficient to outweigh the clear logic of holding
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 the instant case in abeyance until the Court disposes of very similar issues being

 raised in the SSM SIP Call Rule Case.

       11.    Holding the instant case in abeyance would not unduly prejudice

 any party. This case is at the very earliest stages; EPA has not even been required

 yet to prepare and file its certified index to the administrative record. EPA could

 scarcely claim that time is of the essence in this appeal, since EPA’s directive to

 states to remove affirmative defense provisions from their Title V permitting

 regulations and from individual permits remains in effect, as does the removal of

 the affirmative defense provision from regulations on EPA-issued Title V

 permits; and in any event EPA took more than 30 years to decide it no longer

 wanted to have such affirmative defense provisions in the Title V permitting

 program. Most importantly, the requested abeyance would almost certainly be

 quite short: as explained above, the SSM SIP Call Rule Case was argued and

 submitted over a year and a half ago, so a decision in that case should be

 forthcoming soon.



       Therefore, for the reasons set forth above, Petitioner SSM Litigation

 Group respectfully requests that the Court hold this case in abeyance and direct

 that the parties file motions to govern further proceedings within 30 days after
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 the Court issues its opinion in Environmental Committee of the Florida Electric

 Power Coordinating Group, Inc. v. Environmental Protection Agency, et al.,

 D.C. Cir. No. 15-1239.


 Dated: October 20, 2023

                                        Respectfully submitted,

                                        /s/ Russell S. Frye
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                      CERTIFICATE OF COMPLIANCE


       Pursuant to Rule 27(d) and 32(g)(1) of the Federal Rules of Appellate

 Procedure and Circuit Rule 27(a)(2), I hereby certify that the foregoing

 Petitioner’s Motion To Hold Case in Abeyance contains 2376 words, as counted

 by a word processing system that includes headings, footnotes, quotations, and

 citations in the count, and therefore is within the word limit set by the Court.


       This document also complies with the typeface requirements of Fed. R.

 App. P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6)

 because it has been prepared in a proportionally spaced typeface using

 Microsoft Word in 14-point Times New Roman font.


 Dated: October 20, 2023                           /s/ Russell S. Frye


                         CERTIFICATE OF SERVICE


       I hereby certify that on October 20, 2023, the foregoing Petitioner’s

 Motion To Hold Case in Abeyance was electronically filed with the Clerk of the

 Court using the CM/ECF system, which will send notification of said filing to

 the attorneys of record, who are required to have registered with the Court’s

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 CM/ECF system.


                                         /s/ Russell S. Frye




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